          Case 2:19-cv-02280-PD Document 24 Filed 08/20/19 Page 1 of 1



                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

VISIONQUEST NATIONAL, LTD.,                   :
               Plaintiff,                     :
                                              :
          v.                                  :      Civ. No. 19-2280
                                              :
CITY OF PHILADELPHIA,                         :
               Defendant.                     :

                                     JUDGMENT

       AND NOW, this 20th day of August, 2019, upon consideration of the City’s Motion to

Dismiss (Doc. No. 19), and Plaintiff’s Response (Doc. No. 22), it is hereby ORDERED that:

          1. The City’s Motion to Dismiss (Doc. No. 19) is GRANTED;

          2. Plaintiff’s First Amended Complaint (Doc. No. 17) is DISMISSED without

               prejudice;

          3. The CLERK OF COURT shall CLOSE this case.



                                                         AND IT IS SO ORDERED.

                                                         /s/ Paul S. Diamond

                                                         _________________________
                                                         Paul S. Diamond, J.
